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                                                            January 29, 2024


   BY ECF
   The Honorable Pamela K. Chen
   United States District Judge
   United States District Court For the New York Eastern District
   225 Cadman Plaza East
   Brooklyn, New York 11201

                 Re: Securities Exchange Commission v. Xia, et al. U.S. Dist. Ct., Dkt. No. 21-
                     Civ-5350 (PKC)

  Dear Judge Chen:

          As counsel for Defendants in this matter, we write respectfully to request that the Court
  authorize payment of the fees we have incurred in connection with defending this matter. With
  the Court’s approval we stand prepared to submit our invoices for an in camera review to
  confirm reasonableness of the fees expended in this matter.

          As Your Honor is aware, on December 8, 2023, this Court entered a preliminary
  injunction order freezing all assets held by Defendants and the Relief Defendants (the “PI
  Order”). [Dkt. No. 216]. As the Court recognized in imposing the global asset freeze, “[t]he
  Court will, however, consider making a substantial carve-out from the asset freeze for the benefit
  of defendants and Relief Defendants, for reasonable payment of legal fees, living expenses, and
  other good reasons, including support of children and other dependents.” PI Order, at 69. Since
  the issuance of the PI Order, no motion have been filed on behalf of any Defendant or Relief
  Defendant for a carve out for legal fees. Now that the case is settled in principle, Defendants
  request a carve out for the legal fees incurred by our firm for services rendered in this matter.

           As the Court is no doubt aware, our firm was brought into the case specifically to brief an
  issue that Your Honor requested additional briefing on, based on our firm’s expertise. We then
  took an expanded role and have expended substantial resources in defending this action across
  multiple fronts over the last three months. In addition to preparing an opening appeal brief
  before the Second Circuit, we also briefed, at the Court’s request, a 19-page memorandum of law
  on the impact on this case of the Second Circuit’s decision in SEC v. Govil, 86 F.4th 89, 105 (2d
  Cir. 2023), which our firm had litigated. We also spent considerable time engaging in discovery
  while simultaneously working on a complex settlement agreement. Through our continued
  efforts, we have successfully negotiated on behalf of our client a settlement in principle with the
  SEC which has been sent to the Commission for final approval. The settlement agreement
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  provides for each of the investors receiving the entirety of their investment back, while
  maintaining each investor’s ability to receive the benefit of the EB-5 program to the greatest
  extent possible. The agreement also leaves sufficient funds in the currently frozen accounts for
  work to resume on the projects with the intention that they can be completed.

          The value of the assets held under the PI Order as compared to the anticipated settlement
  figure leaves ample resources to address the Court’s carve-out. Moreover, as the terms of the
  settlement provide a mechanism for making all investors whole, while still leaving some of the
  frozen funds available for use by Mr. Xia for completion of the projects, the use of these
  remaining funds to pay our firm for the legal services that helped lead to this result is reasonable
  and appropriate. We therefore respectfully request an opportunity to submit our invoices to the
  Court for an in camera inspection seeking reimbursement for the reasonable attorney’s fees
  expended by our firm since our representation started from the accounts currently subject to the
  PI Order.

         We thank the Court for its attention to this matter.

                                                         Respectfully Submitted,



                                                        Adam C. Ford




  cc: all counsel of record (by ECF)
